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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

JAMES L. DAYE
                                                     Case No.: 1:19-cv-26-WBS
                      Plaintiff,

vs.                                                  ORDER GRANTING STIPULATION
                                                     FOR DISMISSAL WITH PREJUDICE
NAMPA SCHOOL DISTRICT NO. 131

                      Defendant.


       This matter having come before the Court upon the parties’ Stipulation for Dismissal

with Prejudice, and good cause appearing therefor,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED, and this does order,

adjudge and decree that the above-entitled cause be and the same hereby is dismissed with

prejudice, with each party bearing its own attorney’s fees and costs.

       Dated: September 27, 2019




                          ORDER GRANTING STIPULATION FOR DISMISS WITH PREJUDICE - 1
